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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
ED BUTOWSKY, in his Individual )
And Professional Capacities ° )
)
Plaintiff, )
)
V. ) Case No. 4:18-cv-442
5 Judge Mazzant/Judge Craven
)
DAVID FOLKENFLIK et al )
)
Defendants. )
)

 

STIPULATED PROTECTIVE ORDER

WHEREAS, certain books, records, documents, materials and information to be produced
by the parties in discovery contain (1) personal, proprietary, financial and/or other sensitive
documents, information and/or material that is not generally known to the public and (2) is the
subject of efforts by the parties, respectively, that are reasonable under the circumstances to
maintain the confidentiality of such material (hereinafter “Confidential Information”);

WHEREAS, the parties, by and through their respective counsel, have stipulated that the
Confidential Information to be produced as part of discovery in this action may be treated as
confidential pursuant to the terms of this Stipulated Protective Order (“Order”);

WHEREAS, the parties, by and through their respective counsel, have stipulated that
nothing herein anticipates or requires the production of confidential information protected by the
constitutional or statutory reporter’s privilege under Texas Civil Practice & Remedies Code,

§§ 22.021-22.027;

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WHEREAS, the Court finds and concludes that entry of this Order is reasonable and
proper under these specific circumstances and necessary to expedite the flow of discovery and
protect information the parties desire to keep confidential, and that in this particular situation, its
benefits outweigh any burden on access to the judicial process, and that in this particular
situation, it represents the least onerous alternative for balancing the specific legitimate interests
of the litigants, related third-parties, and other affected and interested persons;

Accordingly, for good cause, it is ORDERED as follows:

1) Purpose. The purpose of this Order is to protect the privacy of the parties and
third-parties, the confidentiality of their Confidential Information, and to permit both compliance
with discovery and trial preparation to proceed with a minimum of motions over matters of
confidentiality.

2) Definition of Parties. The party who is receiving materials, documents or
information (“Receiving Party”). The party who is disclosing materials, documents or
information (“Disclosing Party).

3) Designation of Materials as “CONFIDENTIAL” or “CONFIDENTIAL--
ATTORNEYS’ EYES ONLY.” All documents produced in accordance with any Order entered
in this case, all documents produced in the course of discovery, from both parties and non-parties
(including former employees of any party), all answers to interrogatories, all responses to
requests for admission, all responses to requests for production of documents and subpoenas
duces tecum, all deposition testimony and deposition exhibits, all written testimony such as
declarations and affidavits, and all copies, summaries, demonstrative exhibits and information
derived therefrom, shall be subject to this Order concerning Confidential Information, as set

forth below:

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a) The designation of confidentiality shall be made by placing or affixing on
the document, in a manner which will not interfere with its legibility, the word
“CONFIDENTIAL” or the term “CONFIDENTIAL—ATTORNEYS’ EYES ONLY.” A party
who produces books, records, documents, materials and information containing Confidential
Information may designate it as confidential only when such party in good faith believes it
contains Confidential Eaaemation, including, but not limited to, tax returns [including attached
schedules, forms, and workpapers], financial statements, banking records, medical records,
client/customer lists, billing records, trade secrets or other confidential research, technical,
development, or commercial information, unpublished materials or source information, or
information that may be withheld from disclosure to third-parties by statute, rule, regulation, or
contract. The designation of confidentiality shall be made prior to, or contemporaneously with,
the production or disclosure of that information. In the event that documents are produced for
inspection at the party’s facilities, such documents may be produced for inspection before being
marked confidential. Once specific documents have been designated for copying, printing or
downloading, any documents containing Confidential Information will then be marked
confidential after review by the producing party but before delivery to the party who inspected
and designated the documents. There will be no waiver of confidentiality by the inspection of
confidential documents before they are copied, printed or downloaded and marked confidential
pursuant to this procedure. In the event documents are produced for inspection electronically,
such documents may be marked “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’
EYES ONLY” by (1) a computer generated watermark on the document, (2) being located in a
file folder which is itself marked as “CONFIDENTIAL” or “CONFIDENTIAL—

ATTORNEYS’ EYES ONLY,” or (3) being located on a CD or storage device which is itself

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marked as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY.” The
“CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” designation shall
not apply to (1) materials that on their face show that they have been published to the general
public, (2) information that was submitted to a governmental entity without request for
confidential treatment, or (3) is independently developed by Receiving Party without use of or
reference to Disclosing Party’s Confidential Information.

b) Portions of depositions shall be deemed confidential only if they are
designated as such when the deposition is taken or within seven (7) business days after receipt of
the transcript. Any testimony which describes a document which has been designated as
“CONFIDENTIAL” or ““CONFIDENTIAL—ATTORNEYS” EYES ONLY,” as described
above, shall also be deemed to be designated as “CONFIDENTIAL” or “CONFIDENTIAL—
ATTORNEYS’ EYES ONLY.”

c) Information or documents designated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under this Order shall not be used, retained,
or disclosed, or permitted to be used, retained or disclosed by the parties or counsel for the
parties or any persons identified in subparagraph (d) below for any purposes whatsoever, other
than solely as strictly necessary for preparing for and conducting this litigation in which the
information or documents were disclosed (including any appeals).

d) The parties and counsel for the parties shall not disclose or permit the
disclosure of any documents or information designated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under this Order to any other person or

entity, except that disclosures may be made in the following circumstances:

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(1) Disclosure of information designated as “CONFIDENTIAL” may
be made to counsel and employees of counsel for the parties. Any such employee to whom
counsel for the parties makes a disclosure shall be subject to the provisions of this Order
requiring that the doentrents and information be held in confidence.

(ii) | Disclosure of information designated as “CONFIDENTIAL” may
be made only on a need-to-know basis to such employees and agents of a party (including
parents, subsidiaries, affiliates, officers and directors) who are reasonably necessary to provide
assistance in the conduct of this litigation.

(iii) | Disclosure of information designated as “CONFIDENTIAL” may
be made to the Court and its Clerks (subject to the terms of this Order), court reporters engaged
for depositions and those persons or companies, if any, specifically engaged for the purpose of
providing litigation support, including, without limitation, electronic discovery support, and
making photocopies of documents.

(iv) Disclosure of information designated as “CONFIDENTIAL” may
be made on a need-to-know basis to insurers (and agents and adjusters for such insurers) of a
party and to consultants, investigators, or experts employed by the parties or counsel for the
parties who provide assistance as reasonably necessary in the conduct of this litigation, and to
deponents and potential witnesses. The parties and counsel for the parties shall not disclose or
permit the disclosure of any documents or information designated as “CONFIDENTIAL” under
this Order to any person identified in this subparagraph 3(d)(iv), unless and until such person is
provided a copy of this Order and agrees in writing to be subject to the provisions of this Order

requiring that the documents and information be held in confidence by signing Exhibit A.

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€) Disclosure of materials, documents, or information designated as
“CONFIDENTIAL—ATTORNEYS EYES ONLY” shall be made only to outside counsel of
record in this Action for the Parties, employees of such counsel assigned to and reasonably
necessary on a need-to-know basis to assist such counsel in the litigation of this Action, and in-
house counsel for the Parties who either have responsibility for making decisions dealing directly
with the litigation of this Action, or who are assisting outside counsel in the litigation of this
Action. Should counsel disclose materials, documents, or information designated as
“CONFIDENTIAL — ATTORNEYS EYES ONLY” to anyone other than those authorized under
this subparagraph (e), violations of this Order may result in the imposition of sanctions,
including dismissal or entry of default judgment.

f) Except as provided in subparagraph (d) above, the parties, counsel for the
parties, and all persons subject to the provisions of this Order shall use the same degree of care
with which they protect the security of their own confidential information, but no less than
reasonable care, to keep all documents designated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under this Order in secure.

g) All copies, duplicates, extracts, summaries, or descriptions (hereinafter
referred to collectively as “copies”) of materials, documents or information designated as
confidential under this Order or any portion thereof, shall be immediately affixed with the word
“CONFIDENTIAL” or the term “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” if that
does not already appear.

h) The Receiving Party will notify the Disclosing Party in writing promptly
upon Receiving Party’s discovery of any unauthorized use or disclosure of Disclosing Party’s

Confidential Information and will cooperate with Disclosing Party’s reasonable requests to help

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Disclosing Party regain possession of the Confidential Information, prevent further unauthorized
use or dissemination, and otherwise mitigate the effects of the unauthorized use or disclosure.

4) Subsequent Identification of Confidential Information, Materials, documents,
or information or material inadvertently or mistakenly produced without the designation of
“CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” may be so
designated subsequent to production or testimony if the producing party provides replacement
materials bearing appropriate designations and notifies the receiving party promptly after
becoming aware that the producing party failed to make such designation at the time of
production, during the testimony, or during the seven-day period after receipt of the transcript
through inadvertence, mistake, or error. If materials, information or documents are designated
“CONFIDENTIAL” or ,““CONFIDENTIAL—ATTORNEYS’ EYES ONLY” subsequent to
production or testimony, the receiving party promptly shall take reasonable efforts to collect any
copies that have been provided to individuals not entitled to confidential materials under this
Order.

5) Confidential Information Filed with Court. This Order does not, by itself,
authorize the filing of any document under seal. Any party wishing to file a document
designated as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” in
connection with a motion, memorandum or other submission to the Court shall file a motion to
seal referencing this Order and the designating party’s desire to maintain the confidentiality of
such documents. A party or interested member of the public has a right to challenge the sealing
of particular documents that have been filed under seal, and the party designating the
document(s) as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” will

have the burden of demonstrating the propriety of filing under seal. Should this Court deny the

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motion to seal, the documents or materials marked as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” submitted with the motion, memorandum,
or other submission, shall be unsealed and filed with the Court and treated as a public record.
This Protective Order does not in any manner restrict any of the parties from presenting
materials, documents, or information marked as “CONFIDENTIAL” or “CONFIDENTIAL—
ATTORNEYS’ EYES ONLY” in connection with any filing in the event that the Court denies
the motion to seal.

6) Party Withholding Based on Privilege. The parties may withhold from
discovery materials, documents, or information on the grounds of attorney-client, work-product,
reporter’s privilege or any other applicable constitutional, common law, or statutory privilege not
addressed by this Order.

7) Party Seeking Greater Protection Must Obtain Further Order. Except as
provided in paragraph 6, if a party believes that the materials, documents, or information should
be withheld on the ground that the material to be disclosed requires confidentiality protection
greater than that afforded by paragraph 3 of this Order, the party claiming a need for greater
protection shall move for an order providing such special protection pursuant to Rule 26(c) and
does not have to produce the materials, documents, or information until there is a ruling on the
motion.

8) Challenging Designation of Confidentiality. A designation of confidentiality
by any party may be challenged upon motion. The burden of proving the confidentiality of
designated materials, documents, or information remains with the party asserting such
confidentiality. In the event a party objects to a designation of materials as “CONFIDENTIAL”

or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” that party shall give written notice of

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such objection to the other party prior to filing a motion with the Court. The parties, by counsel,
shall then confer by telephone in a good faith attempt to resolve the dispute. If no resolution is
reached within seven (7) days of written notice of the objection, either party may file a motion
and request a ruling whether the material in question should be treated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under this Order. Until the Court rules on
a motion that challenges the confidentiality of a document, the parties shall continue to treat the
materials as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under
the terms of this Order. Nothing in this Order or any action or agreement of a party limits the
Court’s power to make orders concerning the disclosure of documents produced in discovery or
at trial.

9) Use of Confidential Materials, Documents, or Information at Hearings or
Trial. Nothing in this Order shall be construed to affect the use of any document, material or
information at any trial or hearing. A party that intends to present or that anticipates that another
party may present materials, documents, or information designated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” at a hearing or trial shall bring that issue to
the other parties’ attention, whether by an exhibit list, other filing, email or correspondence, For
a hearing, the notice shall be brought to the other parties’ attention at least 7 days in advance of
the hearing. The parties may thereafter seek any such orders from the Court that are deemed
necessary to govern use of such “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’
EYES ONLY” materials, documents, or information at the trial or hearing. Should an order be
sought from the Court, the parties shall continue to treat the documents, materials, documents, or

information as “CONFIDENTIAL” OR “CONFIDENTIAL—ATTORNEYS’ EYES ONLY”

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under the terms of this Order. Nothing in this Order shall restrict or limit the presentation of
evidence to the Court at trial or any other hearing in this action.

10) Other Litigation. If a receiving party is served with a subpoena or an order
entered in other litigation that would compel disclosure of any material or document designated
in this action as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY,”
the receiving party must notify the designating party of the subpoena and of what Confidential
Information they anticipate would be produced pursuant to the subpoena, in writing, immediately
and in no event more than three (3) days after receiving the subpoena or order. Such notification
must include a copy of the subpoena or order. The receiving party also must immediately
inform, in writing, the party who caused the subpoena or order to issue in the other litigation that
all or part of the material covered by the subpoena or order is the subject of this Order. The
designating party shall bear the burden and expense of seeking protection in the court from
which the subpoena or order issued, and the receiving party shall reasonably cooperate with the
designating party’s efforts to seek protection in the court from which the subpoena or order
issued.

11) Return of Confidential Material at Conclusion of Litigation. At the
conclusion of the litigation, all material designated as “CONFIDENTIAL” or
“CONFIDENTIAL—ATTORNEYS’ EYES ONLY” under this Order and not received in
evidence shall be returned to the originating party or destroyed. The Clerk of the Court may
return to counsel for the parties, or destroy, any sealed material at the end of the litigation,
including any appeals. Notwithstanding the foregoing, counsel of record for the parties shall be
entitled to retain in confidence, subject to this Order, a copy of all Confidential documents to the

extent counsel deems necessary to justify professional judgments made in the case. However, .

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. counsel of record shall not disclose or permit the disclosure of any Confidential documents to
any person after this litigation is concluded.

12) Order Subject to Modification. This Order shall be subject to modification by
the Court on motion of a party or any other person with standing concerning the subject matter.
This Order is entered without prejudice to the right of any party to apply to the Court at any time
for additional protection, or to relax or rescind the restrictions of this Order.

13) Federal Rules of Civil Procedure and Local Civil Rules. This Order is subject
to the Federal Rules of Civil Procedure and Local Civil Rules of the United States District Court
for the Eastern District of Texas on matters of procedure and calculation of time periods.

14) Retention of Jurisdiction. After final determination of this action, the
provisions of this Order shall continue to be binding, and the Court shall retain jurisdiction over
the parties and all persons subject to the provisions of this Order for enforcement of this Order.

15) Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel of record and their law firms, the parties, and persons made subject to this Order
by its terms.

It is so ORDERED.

Signed on , 2019,

 

Caroline M. Craven
United States Magistrate Judge

AGREED AS TO FORM AND SUBSTANCE:

Steven S. Biss, attorney for Plaintiff Laura Lee Prather, attorney for Defendants

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EXHIBIT A
I agree to be bound by the Stipulated Protective Order in the matter of Ed Butowsky v.
David Folkenflik et al., Case No. 4:18-cv-00442-ALM-CMC in the United States District Court

for the Eastern District of Texas, Sherman Division, entered on , 2019.

 

I have read the Stipulated Protective Order and I understand and agree to its terms and

conditions.

Dated this day of , 2019,

 

Name:

Title:

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